    Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 1 of 10. PageID #: 492165
                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                                                       MDL NO. 2804
OPIATE LITIGATION
                                                                                   Case No. 17-MD-2804

                                                                                   Judge Dan Aaron Polster
THIS DOCUMENT RELATES TO:


Rees v. McKesson Corporation, et al.     DeMaro v. Purdue Pharma, L.P., et al.     Delancey v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45252                  MDL Case No. #1:19-op-45465               MDL Case No. #1:19-op-45480

Wood v. Purdue Pharma L.P., et al.       Cruz v. Purdue Pharma, L.P., et al.       Stewart v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45264                  MDL Case No. #1:19-op-45466               MDL Case No. #1:19-op-45481

Salmons v. Purdue Pharma L.P., et al.    Paul v. Purdue Pharma, L.P., et al.       Shewmake v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45268;                 MDL Case No. #1:19-op-45467               MDL Case No. #1:19-op-45482

Ambrosio v. Purdue Pharma L.P., et al.   Lechuga v. Purdue Pharma, L.P., et al.    Weatherwax v. Purdue Pharma, LP., et al.
MDL Case #1:18-OP-45375                  MDL Case No. #1:19-op-45468               MDL Case No. #1:19-op-45483

Whitley v. Purdue Pharma LP., et al.     Brumbarger v. Purdue Pharma, LP., et al. Martinez v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45598                  MDL Case No. #1:19-op-45469              MDL Case No. #1:19-op-45484

Roach v. McKesson Corporation, et al.    Means v. Purdue Pharma, L.P., et al.      Warren v. Purdue Pharma, L.P., et al.
MDL Case No. #1:18-OP-45662              MDL Case No. #1:19-op-45470               MDL Case No. #1:19-op-45486

Hunt v. Purdue Pharma L.P., et al.       Peterson v. Purdue Pharma, L.P., et al.   Carlson v. Purdue Pharma, L.P., et al.
MDL Case No. #1:18-OP-45681              MDL Case No. #1:19-op-45472               MDL Case No. #1:19-op-45487

Hanlon v. Purdue Pharma L.P., et al.     Hampel v. Purdue Pharma, L.P., et al.     Flach v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45052              MDL Case No. #1:19-op-45473               MDL Case No. #1:19-op-45488

Frost v. Purdue Pharma L.P., et al.      Whittaker v. Purdue Pharma, L.P., et al. Ivie v. Purdue Pharma, L.P., et al.
MDL Case No. #1:18-op-46327              MDL Case No. #1:19-op-45475              MDL Case No. #1:19-op-45489

Moore v. Purdue Pharma L.P., et al.      Tuttle v. Purdue Pharma, L.P., et al.     Cherry v. Purdue Pharma, L.P., et al.
MDL Case No. #1:18-op-46305              MDL Case No. #1:19-op-45476               MDL Case No. #1:19-op-45490

Artz v. Purdue Pharma, L.P., et al.      Hamawi v. Purdue Pharma, L.P., et al.     Ortiz v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45459              MDL Case No. #1:19-op-45477               MDL Case No. #1:19-op-45492

Rodriquez v. Purdue Pharma, L.P., et al. Gauthier v. Purdue Pharma, L.P., et al.   Meinecke v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45463              MDL Case No. #1:19-op-45478               MDL Case No. #1:19-op-45493

Ellis v. Purdue Pharma, L.P., et al.     Simonson v. Purdue Pharma, L.P., et al.   Brant v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45464              MDL Case No. #1:19-op-45479               MDL Case No. #1:19-op-45494

                                                                                   Williams, v. Purdue Pharma, L.P., et al.
                                                                                   MDL Case No. #1:19-op-45485


                                                             1
    Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 2 of 10. PageID #: 492166



                JOINT MOTION FOR 60 DAY STAY OF ALL REMAINING
                   CLASS CERTIFICATION BRIEFING DEADLINES

         Plaintiffs in the above-captioned cases (“NAS Plaintiffs”) and Defendants identified

below1 respectfully request a 60 day stay of the remaining class certification briefing deadlines in

light of the COVID-19 pandemic.2 Federal, state and local officials have recommended limiting

travel or undertaking activities that require social interactions, and, in some cases, have imposed

localized restrictions on business activities. A stay is required to allow the parties to conduct the

remaining expert and fact witness depositions necessary to the parties’ class certification briefs.

         The parties previously stipulated that the depositions of Defendants’ expert witnesses

would be completed by April 8, 2020. The final expert deposition is currently scheduled for

April 8, 2020, although the deposition of one expert that was intended to occur on March 13,

2020 has had to be postponed and has not yet been rescheduled. In addition, one putative class

representative, Jennifer Artz, is scheduled to be deposed on March 16, 2020. Plaintiffs have

additionally stated their intention to depose an additional proposed class member and class

representative, Ashley Poe, whose motion to intervene is pending.3

         Counsel for the parties agree that significant obstacles created by the COVID-19

response, including government policies implemented to limit the disease’s spread, make the in-



1
  Defendants contend that certain defendants that may be named in the above-captioned cases or
amended pleadings are not subject to personal jurisdiction in some or all of these cases, in which
Defendants contend that responsive pleadings are not yet due pursuant to the Court’s orders.
Defendants submit this filing subject to, and without waiver of, all defenses, including lack of personal
jurisdiction, no service of process, or ineffective service of process, in each case.
2
  On March 11, 2020, the World Health Organization publicly characterized COVID-19 as a
pandemic: https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-
the-media-briefing-on-covid-19---11-march-2020.
3
  Plaintiffs’ counsel will not to seek to add additional class representatives during this stay period,
although they reserve the right to so move the Court following the stay if circumstances change.

                                                  2
    Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 3 of 10. PageID #: 492167



person depositions of these individuals inadvisable and logistically unmanageable. First, there is

a significant potential that several expert witnesses, including doctors with active clinical

practices and an epidemiologist, will be involved in handling the response to the

pandemic. Second, the health condition of certain witnesses has resulted in certain depositions

needing to be rescheduled. Finally, avoiding the travel and close contact necessary to complete

the remaining depositions in person is in the best interest of all the witnesses, court reporters,

videographers, and attorneys involved.4

          The parties agree that conducting all depositions remotely is unlikely to be an adequate

solution. Several expert witnesses may still be unavailable due to their involvement in the

COVID-19 pandemic response or due to illness. In addition, managing exhibits will be

challenging and, if videos of the depositions are requested, some travel and personal contact will

likely still be required.

          For all of these reasons, the parties request that the Court tentatively set the following

scheduling deadlines, subject to further deferral if the COVID-19 pandemic does not improve:

                                                             Current Deadline5     Proposed Deadline

    Completion of Deposition of Defendants’ Expert           April 8, 2020         June 8, 2020
    Witnesses
    Defendants’ Opposition to Class Certification            April 10, 2020        June 9, 2020

    Plaintiffs’ Reply in Support of Class Certification      May 18, 2020          July 17, 2020



4
  CDC expects that widespread transmission of COVID-19 in the United States will occur, which
may overload public health and healthcare systems. It is advising that everyone take steps “to try
to delay the spread of the virus and reduce the impact of disease.”
https://www.cdc.gov/coronavirus/2019-ncov/summary.html. Limiting the travel of those
involved in these depositions, sometimes as many as fifteen people per deposition, hopefully
reduces the risk of transmitting COVID-19 among the general public.
5
 On March 5, 2020, the Court granted the parties’ Joint Motion for Extension of Time (Dkt.
3205), which set the current deadlines.

                                                    3
 Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 4 of 10. PageID #: 492168



Dated: March 13, 2020

Respectfully submitted,

 /s/ Marc E. Dann                          /s/ Emily S. Ullman
 Marc E. Dann (0039425)                    Geoffrey E. Hobart
 DANN LAW                                  Emily S. Ullman
 P.O. Box 6031040                          COVINGTON & BURLING LLP
 Cleveland, OH 44103                       One CityCenter
 Tel: (216) 373-0539                       850 Tenth Street NW
 Fax: (216) 373-0536                       Washington, DC 20001
 notices@dannlaw.com                       Tel: (202) 662-5281
                                           ghobart@cov.com
 /s/ Celeste Brustowicz                    eullman@cov.com
 Celeste Brustowicz (pro hac vice)
 Barry J. Cooper, Jr. (pro hac vice)       Counsel for McKesson Corporation
 Stephen H. Wussow (pro hac vice)
 Victor Cobb (pro hac vice)                /s/ Charles C. Lifland
 COOPER LAW FIRM, LLC                      Charles C. Lifland
 1525 Religious Street                     O’MELVENY & MYERS LLP
 New Orleans, LA 70130                     400 S. Hope Street
 Tel: (504) 399-0009                       Los Angeles, CA 90071
 cbrustowicz@sch-llc.com                   Tel: (213) 430-6000
                                           clifland@omm.com
 /s/ Scott R. Bickford
 Scott R. Bickford (La. 1165)              Counsel for Johnson & Johnson; Janssen
 Spencer R. Doody (La. 27795)              Pharmaceuticals, Inc.; Ortho-McNeil-
 MARTZELL, BICKFORD & CENTOLA              Janssen Pharmaceuticals, Inc. n/k/a
 338 Lafayette Street                      Janssen Pharmaceuticals, Inc.; and Janssen
 New Orleans, LA 70130                     Pharmaceutica, Inc. n/k/a Janssen
 Tel: (504) 581-9065                       Pharmaceuticals, Inc.
 srb@mbfirm.com
                                           /s/ Donna M. Welch
 /s/ Thomas E. Bilek                       Donna M. Welch, P.C.
 Thomas E. Bilek                           KIRKLAND & ELLIS LLP
 Kelly Cox Bilek                           300 North LaSalle
 THE BILEK LAW FIRM, L.L.P.                Chicago, IL 60654
 700 Louisiana, Suite 3950                 Tel: (312) 862-2000
 Houston, TX 77002                         donna.welch@kirkland.com
 (713) 227-7720
 tbilek@bileklaw.com                       Attorney for Allergan plc (appearing
 kbilek@bileklaw.com                       specially), Allergan Finance, LLC (f/k/a/
                                           Actavis, Inc. f/k/a Watson Pharmaceuticals,
 Counsel for NAS Plaintiffs                Inc.), Allergan Sales, LLC, and Allergan
                                           USA, Inc.



                                       4
Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 5 of 10. PageID #: 492169



                                         /s/ Angela R. Vicari
                                         Angela R. Vicari
                                         Andrew K. Solow
                                         ARNOLD & PORTER KAYE SCHOLER
                                         LLP
                                         250 West 55th Street
                                         New York, NY 10019
                                         Tel: (212) 836-8000
                                         Angela.Vicari@arnoldporter.com
                                         Andrew.Solow@arnoldporter.com

                                         Jonathan Stern
                                         Arnold & Porter Kaye Scholer LLP
                                         601 Massachusetts Avenue, NW
                                         Washington, DC 20001
                                         Tel: (202) 942-5000
                                         Jonathan.Stern@arnoldporter.com

                                         Sean Morris
                                         Arnold & Porter Kaye Scholer LLP
                                         777 South Figueroa Street, 44th Floor
                                         Los Angeles, CA 90017
                                         Sean.Morris@arnoldporter.com

                                         Attorneys for Endo Pharmaceuticals Inc.
                                         and Endo Health Solutions Inc.

                                          /s/ Tina M. Tabacchi
                                         Tina M. Tabacchi
                                         Tara A. Fumerton
                                         JONES DAY
                                         77 West Wacker
                                         Chicago, IL 60601
                                         Tel.: (312) 782-3939
                                         Fax: (312) 782-8585
                                         tmtabacchi@jonesday.com
                                         tfumerton@jonesday.com

                                         Counsel for Walmart Inc.

                                         /s/ Robert A. Nicholas
                                         Robert A. Nicholas
                                         Shannon E. McClure
                                         REED SMITH LLP
                                         Three Logan Square
                                         1717 Arch Street, Suite 3100


                                     5
Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 6 of 10. PageID #: 492170



                                         Philadelphia, PA 19103
                                         Tel: (215) 851-8100
                                         Fax: (215) 851-1420
                                         rnicholas@reedsmith.com
                                         smcclure@reedsmith.com

                                         Counsel for AmerisourceBergen Drug
                                         Corporation and AmerisourceBergen
                                         Corporation

                                         /s/ William E. Padgett
                                         William E. Padgett
                                         Kathleen L. Matsoukas
                                         BARNES & THORNBURG LLP
                                         11 South Meridian Street
                                         Indianapolis, IN 46204
                                         Tel: (317) 236-1313
                                         Fax: (317) 231-7433
                                         william.padgett@btlaw.com
                                         kathleen.matsoukas@btlaw.com

                                         Counsel for H. D. Smith, LLC f/k/a H. D.
                                         Smith Wholesale Drug Company, H. D.
                                         Smith Holdings, LLC and H. D. Smith
                                         Holding Company

                                         /s/ Terry M. Henry
                                         Terry M. Henry, Esquire
                                         Melanie S. Carter, Esquire
                                         Justina L. Byers, Esquire
                                         BLANK ROME LLP
                                         One Logan Square
                                         130 N. 18th Street
                                         Philadelphia, PA 19103
                                         Tel: (215) 569-5644
                                         Fax: (215) 832-5644
                                         THenry@blankrome.com
                                         MCarter@blankrome.com
                                         Byers@blankrome.com

                                         Attorneys for Defendants,
                                         Teva Pharmaceutical Industries, Ltd.,
                                         Teva Pharmaceuticals USA, Inc.,
                                         Cephalon, Inc.; Watson Laboratories, Inc.,
                                         Actavis LLC and Actavis Pharma, Inc.
                                         f/k/a/ Watson Pharma, Inc.


                                     6
Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 7 of 10. PageID #: 492171




                                         /s/ Robert M. Barnes
                                         Robert M. Barnes
                                         Scott D. Livingston
                                         Joshua A. Kobrin
                                         MARCUS & SHAPIRA, LLP
                                         35th Floor, One Oxford Centre
                                         301 Grant Street
                                         Pittsburgh, PA 15219
                                         Phone: (412) 471-3490
                                         Fax: (412) 391-8758
                                         E-mail: rbarnes@marcus-shapira.com
                                         E-mail: livingston@marcus-shapira.com
                                         E-mail: kobrin@marcus-shapira.com

                                         Attorneys for HBC Service Company

                                         /s/ Eric R. Delinsky
                                         Eric R. Delinsky
                                         Alexandra W. Miller
                                         ZUCKERMAN SPAEDER LLP
                                         1800 M Street, NW
                                         Suite 1000
                                         Washington, DC 20036
                                         Phone: (202) 778-1800
                                         Fax: (202) 822-8106
                                         E-mail: edelinsky@zuckerman.com
                                         E-mail: smiller@zuckerman.com

                                         Counsel for CVS Rx Services, Inc. and CVS
                                         Indiana, LLC

                                         /s/ Kelly A. Moore
                                         Kelly A. Moore
                                         MORGAN, LEWIS & BOCKIUS LLP
                                         101 Park Avenue
                                         New York, NY 10178
                                         Tel: (212) 309-6612
                                         Fax: (212) 309-6001
                                         kelly.moore@morganlewis.com

                                         Elisa P. McEnroe
                                         Morgan, Lewis & Bockius LLP
                                         1701 Market Street
                                         Philadelphia, PA 19103


                                     7
Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 8 of 10. PageID #: 492172



                                         Tel: (215) 963-5917
                                         Fax: (215) 963-5001
                                         elisa.mcenroe@morganlewis.com

                                         Attorneys for Rite Aid of Maryland, Inc. and
                                         Rite Aid Corp.

                                         /s/ Donna M. Welch_________
                                         Donna M. Welch, P.C.
                                         KIRKLAND & ELLIS LLP
                                         300 North LaSalle
                                         Chicago, IL 60654
                                         Tel: (312) 862-2000
                                         donna.welch@kirkland.com

                                         Attorney for Defendants Allergan plc
                                         (appearing specially), Allergan Finance,
                                         LLC (f/k/a/ Actavis, Inc. f/k/a Watson
                                         Pharmaceuticals, Inc.), Allergan Sales,
                                         LLC, and Allergan USA, Inc.

                                         /s/ James W. Matthews
                                         James W. Matthews
                                         Katy E. Koski
                                         Graham D. Welch
                                         FOLEY & LARDNER LLP
                                         111 Huntington Avenue
                                         Boston, MA 02199
                                         Tel:    617.342.4000
                                         Fax: 617.342.4001
                                         Email: jmatthews@foley.com
                                                 kkoski@foley.com
                                                 gwelch@foley.com

                                         Counsel for Defendants Anda, Inc. and
                                               Anda Pharmaceuticals, Inc.

                                         /s/ Kaspar Stoffelmayr
                                         Kaspar Stoffelmayr
                                         BARTLIT BECK LLP
                                         54 West Hubbard Street
                                         Chicago, IL 60654
                                         Tel. (312) 494-4400
                                         kaspar.stoffelmayr@bartlitbeck.com

                                         Counsel for the Walgreens Defendants


                                     8
Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 9 of 10. PageID #: 492173




                                         /s/ John J. Haggerty                   .
                                         John J. Haggerty
                                         FOX ROTHSCHILD LLP
                                         2700 Kelly Road, Suite 300
                                         Warrington, PA 18976-3624
                                         Tel.: (215) 345-7500
                                         Fax: (215) 345-7507
                                         jhaggerty@foxrothschild.com

                                         Counsel for Prescription Supply Inc.

                                         /s/ Enu Mainigi
                                         Enu Mainigi
                                         WILLIAMS & CONNOLLY LLP
                                         725 Twelfth Street, N.W.
                                         Washington, DC 20005
                                         Tel: (202) 434-5000
                                         Fax: (202) 434-5029
                                         emainigi@wc.com

                                         Counsel for Cardinal Health, Inc




                                     9
Case: 1:17-md-02804-DAP Doc #: 3226 Filed: 03/13/20 10 of 10. PageID #: 492174



                                 CERTIFICATE OF SERVICE

       A copy of the foregoing was filed via the Court’s electronic filing system on

March 13, 2020. Notice of this filing will be sent by e-mail through the Court’s

electronic case-filing system to all counsel of record.

                                                          /s/Emily S. Ullman
                                                          EMILY S. ULLMAN




                                                 10
